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 8                                      UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   United States of America,                          No. 2:12-cr- 0238 MCE
12                         Plaintiff,
13            v.                                        ORDER
14   Eric Johnston,
15                         Defendant.
16

17            GOOD CAUSE APPEARING, Defendant, Eric Johnston, shall be released from detention

18   at the Sacramento County Jail through the U.S. Marshal’s Office from 8:30 a.m. on March 12,

19   2014 until 1:30 p.m. on March 12, 2014, with the understanding that he shall remain in the

20   custody and presence of investigator, Mary Elizabeth Greenberg for the entire time of his release.

21            The defendant is reminded that he will be subject to additional punishment above what he

22   is already facing if he fails to return to the Sacramento County Jail at the time specified in this

23   Order.

24            IT IS SO ORDERED.

25   Dated: March 11, 2014

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27   Dad1.crim
     Johnston12cr0238.temprelease
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